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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                             :
UNITED STATES OF AMERICA     :
                             :
            v.               :                      Case No 1:21-cr-575 (JDB)
                             :
DAVID JOHN LESPERANCE, CASEY :
CUSICK, and JAMES VARNELL    :
CUSICK, JR.,                 :
                             :
                Defendants.  :
________________________________________



                         DEFENDANT’S REPLY IN SUPPORT OF
                          DEFENDANT’MOTION TO DISMISS
                          ON FIRST AMENDMENT GROUNDS


        COMES NOW, Defendants, David John Lesperance (“Lesperance”), Casey

Cusick (“Cusick”), and James Varnell Cusick Jr. (“Cusick Jr.”), by and through

undersigned counsel John Pierce, and hereby move this Motion to dismiss all

counts of the indictment against them, on 1st Amendment grounds.

   I. INTRODUCTION AND CONTEXT RELEVANT TO THE MOTION

       The Government has glaringly and conspicuously neglected to allege an essential element

of the crime alleged under Count of a violation of 18 U.S.C. 1752(a)(1).

       Unable to break out of this mistake the Government repeats a mistake over and over,

failing to actually charge these and other Defendants under 18 U.S.C. 1752(a)(1).

       The Government has filed an Opposition to Defendants’ Motion at Dkt. #49, which

recites “Section 1752(a)(1) authorizes the prosecution of any individual who ‘knowingly enters
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or remains in any restricted building or grounds without lawful authority to do so.” 18 U.S.C. §

1752(a)(1).’” (Emphasis added by Defendants’ counsel.)

       Thus, the Government admits and confesses that there is no crime committed under 18

U.S.C. § 1752(a)(1) unless a Defendant is proven beyond a reasonable doubt to have

“KNOWINGLY” entered or remained in any restricted building or grounds.

       The Government conspicuously refuses to allege that any of the Defendants or anyone

else was placed on notice that the Capitol or its grounds had been restricted. 1

       Over and over, as if a chant, the Government asserts here and elsewhere that “Because

the U.S. Capitol building was restricted on January 6 due to the attendance of the Vice President

and their family (all of whom were Secret Service protectees), judges of this Court have

recognized that the U.S. Capitol qualified as a ‘restricted building’”

       However, the Capitol building was not restricted on January 6, 2021, because a legally

effective restriction requires putting the public on notice of the restriction – which the

Government failed to do. This is legally the same as issuing a domestic protective order, but

then never serving it on the person who is the subject of the order. No restriction occurred

because it was not delivered to the public to which it was intended to be addressed.

       Instead, the U.S. Capitol Police pinned paper signs roughly 11” by 14” to bike racks…

mobile, lightweight, easily movable bike racks.

       But those didn’t last long. Nor could the U.S. Capitol Police with more than a century of

experience with protests reasonably imagine that small, flimsy, paper and laminated signs would

remain in place. No one would reasonably rely upon paper signs 11” by 14” pinned to mobile

bike racks to effect legal notice. While the Congress itself appropriated over $1 trillion in


1
        The Government does try to argue it in its Opposition, but has not alleged it in any
allegation. The claims of the Opposition are counter-factual and insupportable in reality.
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infrastructure spending during the Obama Administration and massive infrastructure spending

during the COVID economy, it is not reasonable for Congress to fail to invest in a few

permanent, durable signs rather than using paper.

         As much as people might not want to hear it, the video is clear. Video recordings show

that heavily cloaked individuals sat on low walls by the road waiting for the crowds to approach

from the rally at the Ellipse, then as soon as the crowds turn the corner about a mile away, those

individuals are seen in the video recordings leaping up and removing the bike racks and farm-

like mesh fences and discarding them off the paths so that the signs are hidden from view. After

initial skirmishes by a few, all traces of the flimsy paper signs were gone by the time these

Defendants and the majority of demonstrators arrived at the Capitol.

         But whatever the reason, whatever one’s tolerance for looking at the video evidence may

be, whomever is the culprit, the signs were gone by the time the vast majority of the crowds –

including these Defendants – reached Capitol Hill.

         No amount of denial by the Government can change that reality. No notice was given.

         But the Government does not allege that it provided any such notice.

         The Government does not allege that the Defendants were placed on notice so as to

“knowingly” enter any restricted building or grounds, which is an essential element of the crime

charged.

         Because the Government cannot alleged that it placed Defendants on notice the charge

fails.

         Prosecutors have arranged numerous tours of the U.S. Capitol building to defense counsel

working on January 6 cases – but only the inside of the building. An intrepid attorney must

venture on their or her own outside the building to inspect the permanent signs erected around
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the outside. Surely there are signs warning the public that the building is subject to being closed

and/or restricted? No, there are no such signs. Signs are neither a novel nor expensive

technology.

        The Government references the visitor’s center. Surely there are permanent signs posted

limiting entrance only through the visitor’s center? No, those signs are not there either. A

visitor’s center is a service provided to the public. One may not assume that the existence of a

visitor’s center operates as a restriction.

        On the contrary, the U.S. Capitol Police issued six (6) different permits for

demonstrations to be held on the U.S. Capitol Grounds on the afternoon of January 6, 2021,

simultaneous with the meeting of the Joint Session of Congress.

        See permits issued by Scott Grossi of the U.S. Capitol Police, hyperlinked from each item

on the list below.


                        Brian Lewis Demo Pemit

                        Jesus Lives Demo Permit

                        One Nation Under God Permit

                        Rock Ministries Demo Permit

                        Virginia Freedom Keepers Demo Permit

                        Women For a Great America Demo Permit

        Thus, not only were there no notices to legally effect a restriction, but the U.S. Capitol

Police affirmatively invited demonstrators onto the U.S. Capitol Grounds to attend any or all of

six (6) different demonstrations. Because human beings generally cannot fly through the air,
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these permits issued by USCP authorize people to walk across the Capitol Grounds to and from

the permitted demonstration locations and even among them.

       The Government’s Opposition argues that “The Capitol’s exterior grounds were closed to

the public and surrounded by law enforcement officers, barricades, and signage,” even while the

U.S. Capitol Police had actually, in fact, opened the Capitol Grounds to demonstrators by issuing

formal, official permits for lawful demonstrations to occur at that same time on those grounds.



   II. CHARGES AGAINST DEFENDANTS BY INFORMATION

       By Information filed in the record on September 13, 2021, at Dkt. # 1, the Defendants

were charged with four misdemeanors.

       A. COUNT ONE alleging Entering and Remaining in a Restricted Building or Grounds,

           in violation of Title 18, United States Code, Section 1752(a)(1).

       B. COUNT TWO alleging Disorderly and Disruptive Conduct in a Restricted Building

           or Grounds, in violation of Title 18, United States Code, Section 1752(a)(2)

       C. COUNT THREE alleging Disorderly Conduct in a Capitol Building, in violation of

           Title 40, United States Code, Section 5104(e)(2)(D)

       D. COUNT FOUR alleging Parading, Demonstrating, or Picketing in a Capitol Building,

           in violation of Title 40, United States Code, Section 5104(e)(2)(G)



   III. COUNT IV VIOLATES THE FIRST AMENDMENT OF US CONSTITUTION

       The Government misses the mark in failing to place the charges under 18 U.S.C.

5104(e)(2)(G) within their proper context as part of a comprehensive, extensive legal regime.
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       The Opposition argues that “The defendants contend that these statutes’ prohibition on

disorderly and disruptive conduct violates the First Amendment. ECF No. 45 at 5-9.”

       The Defendants of course do not argue any such thing.

       The Government presents analysis of restrictions upon free speech, but fails to account

for the overlap with 18 U.S.C. 5104(e)(2)(D) and 18 U.S.C. 1752(a)(2).

       Counts II, III, and IV are multiplicious, redundant, duplicative, repetitive, the same, and

unnecessarily superfluous.

       Meanwhile, COUNT FOUR alleging Parading, Demonstrating, or Picketing in a Capitol

Building, in violation of Title 40, United States Code, Section 5104(e)(2)(G) can be different

from COUNT THREE alleging Disorderly Conduct in a Capitol Building, in violation of Title

40, United States Code, Section 5104(e)(2)(D) and COUNT TWO alleging Disorderly and

Disruptive Conduct in a Restricted Building or Grounds, in violation of Title 18, United States

Code, Section 1752(a)(2) only in free speech protected under the First Amendment of the U.S.

Constitution.

       “Parading, Demonstrating, or Picketing” when Defendants are already charged with

“Disorderly and Disruptive Conduct” can only include pure First Amendment expression.

       Any form of “parading” as a combination of expression and conduct which would

constitute “Disorderly and Disruptive Conduct” is already covered by Counts II and III.

       Any form of “demonstration” as a combination of expression and conduct which would

constitute “Disorderly and Disruptive Conduct” is already covered by Counts II and III.

       Any form of “picketing” as a combination of expression and conduct which would

constitute “Disorderly and Disruptive Conduct” is already covered by Counts II and III.
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       Thus, only pure expression remains. Where the Congress has engaged in poor or ill-

considered drafting, it is not for the Court nor certainly the Defendants to fix Congress’ mistake.

       Therefore, Count IV is an unconstitutional attack on free speech under the First

Amendment. The only additional content of Count IV is expression protected by the First

Amendment. If such expressive conduct were “disorderly” it would already be covered by

Counts II and III. If such expressive conduct were “disruptive” it would already be covered by

Counts II and III. Therefore only First Amendment (free speech and petitioning the government

for redress of grievances) expressions and messages are covered within Count IV.

       The fact that any constitutional grounds for restricting “parading, demonstrating, or

picketing” are already dealt with under 18 U.S.C. 5104(e)(2)(D) and 18 U.S.C. 1752(a)(2) means

that only purely expressive messaging is left remaining within 18 U.S.C. 1752(a)(1).

       Any application of 18 U.S.C. 1752(a)(1) which could sometimes be constitutional to

regulate in a content-free manner are multiplitious and subject to dismissal under Federal Rules

of Criminal Procedure Rule 12, because they would duplicate the prohibitions of 18 U.S.C.

5104(e)(2)(D) and 18 U.S.C. 1752(a)(2).

       Any application of 18 U.S.C. 1752(a)(1) which not merely duplicate the prohibitions of

18 U.S.C. 5104(e)(2)(D) and 18 U.S.C. 1752(a)(2) would be pure expressions or petitioning the

government which are protected under the guarantees of the U.S. Constitution’s First

Amendment.

       Perhaps we should view the scenario from a different angle: Either (a) Count IV must be

stricken because it is multiplitious of Counts II and III (which are also multiplitious of each

other), or (b) Count IV must be stricken because as applied it violates the First Amendment.
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Therefore, the Government may elect for which reason Count IV must be stricken. Generally,

the interpretation that avoids a constitutional conflict is always to be preferred in Federal law.



   IV. FACT FREE INFORMATION IS NOT ADEQUATE

       In Hunter v. District of Columbia , 47 App. D.C. 406 (D.C. Cir. 1918), for example, the

D.C. Circuit Court examined an indictment that alleged that the defendants had

            "congregate[d] and assemble[d] on Pennsylvania avenue, N.W., [and]
            did then and there crowd, obstruct, and incommode the free use of the
            sidewalk thereof on said avenue" in violation of the unlawful assembly
            statute. Id. at 408. Beyond the general terms of acts prohibited by the
            statute, there was no averment of fact "to inform defendants of the nature
            of the acts which [were] relied upon by the prosecution as constituting
            alleged obstruction of the sidewalk, or that would enable defendants to
            make an intelligent defense, much less to advise the court of the
            sufficiency of the charge in law to support a conviction." Id. at 410. And
            the fact that the charging document "fail[ed] to set out the acts
            committed by the defendants which constituted the crowding obstructing
            of the free use of the walk by them[,]" Id. at 409, was a fatal flaw.

       As stated by the Hunter Court:

            [i]t is elementary that an information or indictment must set out the facts
            constituting the offense, with sufficient clearness to apprise the
            defendant of the charge he is expected to meet, and to inform the court of
            their sufficiency to sustain the conviction. ... In other words, when the
            accused is led to the bar of justice, the information or indictment must
            contain the elements of the offense with which he is charged, with
            sufficient clearness to fully advise him of the exact crime which he is
            alleged to have committed.

Id. at 409, 410 (emphasis added) (internal quotation marks and citation omitted).

       The Hunter Court also observed that the defendants in that case could have engaged in a

number of acts that fell outside the scope of the statute, and thus, by failing to specify the

defendants' particular conduct, the indictment was "too vague, general, and uncertain to meet the

requirements of the established rules of criminal pleading," which in turn rendered it
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"insufficient in law." Id. at 410.

        Before trial, a defendant in a criminal case may move to dismiss the charging document

for failure to state an offense. Fed. R. Crim. P. 12(b)(3)(B)(v). See United States v. Akinyoyenu,

199 F. Supp. 3d 106, 109 (D.D.C. 2016)(Citations omitted). The operative question is whether

the allegations in the indictment, if proven, permit a jury to conclude that the defendant

committed the criminal offense as charged. Ankinyoyenu at 9-10. See United States v. Sanford,

Ltd., 859 F. Supp. 2d 102, 107 (D.D.C.2012); United States v. Bowdoin, 770 F. Supp. 2d 142,

146 (D.D.C.2011). Moreover, in analyzing this, “a district court is limited to reviewing the face

of the charging document and, more specifically, the language used to charge the crimes.”

United States v. Sharpe, 438 F.3d 1257, 1263 (11th Cir. 2006)(emphasis original).

        A valid indictment must set out "the elements of the offense intended to be charged and

sufficiently apprise the defendant of what he must be prepared to meet." United States v. Pickett,

353 F.3d 62,67 (D.C. Cir. 2004). The government must state the essential elements of the crime

and allegations of "overt acts [constituting the offense] with sufficient specificity." United States

v. Childress, 58 F.3d 693, 720 (D.C. Cir. 1995).

        A criminal complaint is also meant to satisfy at least two constitutional provisions. First,

it gives Sixth Amendment notice of the nature and circumstances of the alleged crime so the

accused may meet the charge and defend himself. United States v. Hitt, 249 F.3d 1010, 1016

(D.C. Cir. 2001); Hamling v. United States, 418 U.S. 87, 117 (1974). Second, a valid indictment

fulfills the Fifth Amendment’s edicts that citizens are not placed in jeopardy twice for the same

offense. Stirone v. United States, 361 U.S. 212, 218 (1960); United States v. Martinez, 764

F.Supp.2d 166, 170 (D.D.C.2011) (quotations and citations omitted). That is, the allegations

must be sufficiently clear, complete, thorough enough, non-generic, and specific to the particular
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Defendant to identify if the Defendant were later charged with the same offense that double

jeopardy applies to bar a second prosecution of the same offense.

       A criminal complaint fulfills these fundamental constitutional provisions when it sets out

both the elements of the crime and the factual circumstances that would satisfy those elements

when assumed true. Hamling, 418 U.S. at 118-19. A criminal complaint may be dismissed as

constitutionally insufficient when it does not join the elements with factual allegations. See

Russell v. United States, 369 U.S. 749, 763-771 (1962); United States v. Hillie, 227 F. Supp. 3d

57 (D.D.C. Jan. 5, 2017). The Supreme Court explained:

            “[The second object of an indictment is] to inform the court of the facts
            alleged, so that it may decide whether they are sufficient in law to
            support a conviction. For this, facts are to be stated, not conclusions of
            law alone.” United States v. Cruikshank, 92 U.S. 542, 558 (1875).


   V. U.S. CAPITOL IS PRESUMPTIVELY OPEN TO THE PUBLIC

       The Government likewise recites as a chant that the Capitol is not public or not a public

forum, but the reality is otherwise.

            The Capitol Grounds (excluding such places as the Senate and House
            floors, committee rooms, etc.) have traditionally been open to the
            public; indeed, thousands of people visit them each year. Thus, we
            cannot agree with the defendants that the Capitol Grounds have ever
            been characterized by the serenity and quiet of a hospital or library.

Jeannette Rankin Brigade v. Chief of Capitol Police, 342 F. Supp. 575 (D.D.C. 1972) (emphases
added).

            The courts in this jurisdiction have long recognized that "[t]he United
            States Capitol is a unique situs for demonstration activity" and "is a
            place traditionally open to the public and thousands visit each year to
            which access cannot be denied broadly or absolutely, [a fact which
            must be weighed] against the government's interest in protecting against
            possible `damage to buildings and grounds, obstruction of passageways,
            and even dangers to legislators and staff.'" Kroll v. United States, 590 F.
            Supp. 1282, 1289, 1290 (D.D.C.1983) (quoting Jeannette Rankin
            Brigade v. Chief of Capitol Police, 342 F. Supp. 575, 583-85 (D.D.C.),
            aff'd mem., 409 U.S. 972, 93 S. Ct. 311, 34 L. Ed. 2d 236 (1972)).
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Wheelock v. United States 552 A.2d 503, 506 (D.C. 1988) (emphases added).

        Yet the Government merely recites a cult-like refrain, daring someone to question it, that

the Capitol is like a secret military base.

        As admitted by the U.S. Capitol Police Chief of Police Thomas Manger, protests outside

the 751 foot long building are a daily occurrence. Explicitly addressing the events of January 6,

2021, on September 17, 2021, a new Chief of the USCP, Thomas Manger, admitted and

confessed among other things, at time stamp 00:18:10:

             “In terms of how we engage, we handle multiple demonstrations at
             the Capitol and Supreme Court every day. Every day. Multiple
             demonstrations.”

        “USCP News Conference on "Justice for J6" Rally” was recorded and broadcast live by

C-SPAN, and is permanently recorded for viewing at: https://www.c-span.org/video/?514736-1/us-

capitol-police-prepare-threats-violence-justice-j6-rally

         And again at time stamp 00:20:09 --

        “We have multiple demonstrations every day.”        2


        Recall that the U.S. Capitol Police is in effect one of two of the complaining witnesses in

this case, along with Congress. So this is an admission by a party opponent.

        This afternoon, in the case of United States v. Nordean, Case No. 1:21-cr-00175, the

same U.S. Attorney’s Office prosecuting here called to the witness stand Jason McIntyre,

Architect of the Capitol's Office, Deputy Superintendant for Capitol and Capitol Visitors Center.

McIntyre’s wide-ranging testimony included testifying that the West side of the U.S. Capitol

building and grounds is host to the Labor’s Day concert series, where many thousands of people


2
       One assumes that there is a little bit of hyperbole in the Chief’s claim that this happens
“every day” but the USCP Chief is making clear that protests are a very central part of activity at
or around the U.S. Capitol. Demonstrations are certainly not a crime or evidence of a crime.
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– in fact, one may add, far more than on January 6, 2021 – are able to attend and listen to musical

concerts by orchestras positioned in the same spot as the inaugural stage that was being set up on

January 6, 2021. By the way, the same is true for other holiday concerts held on the Capitol

Grounds.

       McIntyre also testified that the Capitol is used for tours, for people to see the artwork and

statues. McIntyre repeatedly emphasized how the Capitol is a museum as well as a work place.

When asked by Carmen Hernandez: “The Capitol is not just place of work but also a museum?”

McIntyre testified: “Yes, the primary building of our democracy. The center of our

congressional business on a daily basis.”



   VI. GOVERNMENT’S FAILURE TO ALLEGE FACTS SHOWING GUILT

       Defendants are not alleged to have damaged any property in or around the District of

Columbia on or about January 6, 2021, nor harmed or interfered with any law enforcement

official or other official nor committed any crime but merely allegedly being present in the U.S.

Capitol for 18 minutes.

       Yet, as has become a disturbing and conspicuous trend, the Government argues that:

               A. “a large crowd gathered outside the United States Capitol and entered the

                   restricted grounds.” Without identifying who is this large crowd or what it has

                   to do with these Defendants as individuals. Crowds are not collectively

                   guilty. Only individual Defendants can be found guilty.

               B. “individuals forced their way through, up, and over barricades and advanced

                   to the Capitol’s exterior.” But what individuals? What do they have to do

                   with these Defendants? Clearly nothing.
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               C. “Around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol

                   building,” But why are these unnamed individuals remotely relevant to these

                   individual Defendants?

               D. “In the intervening period, scores of individuals entered the building without

                   authority.” But again, how is this relevant to these Defendants?

               E. Like millions of tourists every year and an estimated 500,000 peaceful

                   demonstrators who never went to Capitol Hill on January 6, 2021, Defendants

                   exercised their Constitutionally-recognized “Right to Travel” (found implied

                   by the U.S. Supreme Court) and travelled to the Nation’s Capitol.

               F. “For their part, the defendants traveled from Florida to Washington, D.C. on

                   January 5, 2021, and attended former President Trump’s speech at the Ellipse

                   on January 6. The defendants then went to the U.S. Capitol.” So there is

                   something wrong with traveling to Washington, D.C.? This will come as a

                   shock to the crucial tourism industry of the District of Columbia. There is

                   something wrong with attending a speech at the Ellipse? There is something

                   wrong with going to the U.S. Capitol? The Information is defective.



       It is becoming clear that the U.S. Attorney’s Office has crossed beyond traditional

criminal law and is now trying to convict Defendants for crimes committed by other people

and/or as collective guilt. But there are no guilty crowds. There can only be guilty individuals.



   VII.     IDEA THAT SEEING SIGNS OF A RIOT CREATE GUILT

       On April 6, 2022, Judge Trevor McFadden provided a very interesting split decision,

including in United States v. Matthew Martin, Case No. 1:21-cr-00394, in this District.
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           Judge McFadden found Matthew Martin not guilty because the U.S. Capitol Police had

not given notice to the public (that is, it was not still visible after efforts by some to remove

barricades) and police officers did not express any discouragement of Martin entering the

Capitol.

       McFadden specifically ruled that the signs that had been posted earlier in the day were no

longer visible by the time that the majority of the crowds reached the U.S. Capitol.

       However, McFadden found a co-Defendant had crawled over walls and other

obstructions to enter the Capitol. Thus, Judge McFadden found, the second co-Defendant did

not need to see signs posted to realize that he was not supposed to be entering the building, if he

had to crawl over walls and dodge police officers to do it.

       But the Government has stretched or misunderstood Judge McFadden’s rulings. Ever

since, the Government has been fixated on the claim that Defendants saw some people rioting.

That is not what McFadden decided, however. The ruling was not that simply seeing other

people engaged in misconduct causes one to be guilty. Seeing guilt does not create guilt.

       If out of an estimated 10,000 people at or around the U.S. Capitol, several hundred of

them actually did riot, break things, and assault people including law enforcement, this would in

no way be legally effective to tell the Defendants that the area was restricted. It would alert an

average person of reasonable intelligence that some people were about to get arrested, while the

remainder of the crowd could continue to peacefully demonstrate.

       Rather, McFadden ruled, Martin was reasonably aware that he was not supposed to be

entering the Capitol if he could not do it normally, walking in the door, but had to go to

extraordinary efforts crawling over walls and dodging police to get into the building.
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   VIII. CONCLUSION

       For the foregoing, reasons, notwithstanding the Government’s Opposition, Defendants

continues to maintain that the Court should grant their motion.

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                                CERTIFICATE OF SERVICE

       I hereby certify that my law firm is filing the foregoing with the Court by its ECF record-
keeping and filing system, which automatically provides a copy to:


                         MATTHEW M. GRAVES
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